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 6
     Attorney for Anthony Valenzuela
 7
 8                              UNITED STATES DISTRICT COURT
 9                                    DISTRICT OF NEVADA
10
     UNITED STATES OF AMERICA,                           Case No. 2:13-cr-00366-APG-EJY
11
                   Plaintiff,                            STIPULATION TO CONTINUE
12
                                                         REVOCATION HEARING
            v.
13                                                       (Fifth Request)
     ANTHONY VALENZUELA,
14
                   Defendant.
15
16
17          IT IS HEREBY STIPULATED AND AGREED, by and between Jason M. Frierson,
18   United States Attorney, and Jean Ripley, Assistant United States Attorney, counsel for the
19   United States of America, and Rene L. Valladares, Federal Public Defender, and
20   Keisha K. Matthews, Assistant Federal Public Defender, counsel for Anthony Valenzuela, that
21   the Revocation Hearing currently scheduled on June 6, 2024, be vacated and continued to a date
22   and time convenient to the Court, but no sooner than ninety (90) days.
23          This Stipulation is entered into for the following reasons:
24          1.     The parties need additional time to prepare for the revocation hearing.
25          2.     The defendant is in custody and agrees with the need for the continuance.
26          3.     The parties agree to the continuance.
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 1         This is the fifth request for a continuance of the revocation hearing.
 2         DATED: May 30, 2024.
 3
 4   RENE L. VALLADARES                              JASON M. FRIERSON
     Federal Public Defender                         United States Attorney
 5
     By /s/ Keisha K. Matthews                       By /s/ Jean Ripley
 6   KEISHA K. MATTHEWS                              JEAN RIPLEY
     Assistant Federal Public Defender               Assistant United States Attorney
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        Case 2:13-cr-00366-APG-EJY Document 114 Filed 05/31/24 Page 3 of 3




 1                              UNITED STATES DISTRICT COURT

 2                                   DISTRICT OF NEVADA

 3
     UNITED STATES OF AMERICA,                       Case No. 2:13-cr-00366-APG-EJY
 4
                   Plaintiff,                        ORDER
 5
            v.
 6
     ANTHONY VALENZUELA,
 7
                   Defendant.
 8
 9
10          IT IS THEREFORE ORDERED that the revocation hearing currently scheduled for

11   June 6, 2024, at 10:30 a.m., be vacated and continued to September 19, 2024 at the hour

12   of 9:00 a.m. in Courtroom 6C.

13          DATED this 31st day of May 2024.

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                                               UNITED STATES DISTRICT JUDGE
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